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Mr. Lyle W. Cayce, Clerk
United States Court of Appeals for the Fifth Circuit
600 South Maestri Place
New Orleans, Louisiana 70130
     Re: United States v. Vargas, No. 21-20140; Rule 28(j) Letter
Dear Mr. Cayce:
    I write to draw attention to a relevant decision issued today, in United States v.
Castillo, — F.4th —, No. 21-50054, slip op. at 5-34 (9th Cir. May 31, 2023).

      In Castillo, a unanimous panel of the Ninth Circuit confronted and resolved the
same two issues presented in this case. First, Castillo held that Kisor v. Wilkie, 139
S. Ct. 2400 (2019), controls the question whether Sentencing Guidelines commen-
tary is entitled to judicial deference. See Castillo, slip op. at 14-17. “Applying the
traditional tools of statutory construction to the text of” the pertinent regulation, “as
Kisor instructs,” the Castillo panel then concluded that Guideline Section 4B1.2(b)
“unambiguously identifies a list of crimes that does not include [the] inchoate of-
fenses” of conspiracy and attempt. Id. at 20. The panel thus held that the commentary
purporting to expand Section 4B1.2(b)’s definition of “controlled substance offense”
to reach inchoate drug crimes cannot command Seminole Rock (or Auer) deference.
Id. at 20-22. The defendant’s federal drug conspiracy conviction, it followed, could
not serve as a career-offender predicate. Id. at 34.

     Castillo is the latest decision adopting Mr. Vargas’s view of both questions pre-
sented in this case. The Third, Fourth, Sixth, Ninth, and Eleventh Circuits now hold
that Kisor applies to the Sentencing Commission’s commentary. See Def. En Banc
Br. 17-18; Def. Jan. 19 Rule 28(j) Letter. Those same circuits, with the addition of
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the D.C. Circuit, all interpret the present iteration of Section 4B1.2(b)’s plain lan-
guage to be unambiguous in its omission of inchoate versions of the listed drug pred-
icates. See Def. En Banc Br. 32-35; Def. Jan. 19 Rule 28(j) Letter.

     Mr. Vargas continues to urge the en banc Court to embrace the considered and
persuasive reasoning of its fellow courts of appeals in resolving the questions pre-
sented.

                                           Sincerely,

                                           s/ Evan G. Howze
                                           EVAN G. HOWZE
                                           Assistant Federal Public Defender
                                           Counsel for Appellant

                          CERTIFICATE OF SERVICE

      I certify that on May 31, 2023, this Rule 28(j) letter was served upon counsel
for appellee, Assistant United States Attorney Audrey Lynn Maness, via electronic
filing.

                                           s/ Evan G. Howze
                                           EVAN G. HOWZE




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                             FOR PUBLICATION

               UNITED STATES COURT OF APPEALS
                    FOR THE NINTH CIRCUIT

         UNITED STATES OF AMERICA,                         No. 21-50054
                   Plaintiff-Appellee,
                                                             D.C. Nos.
             v.                                           2:19-cr-00764-
                                                              DSF-1
         ROBERTO CASTILLO, AKA                            2:19-cr-00764-
         Roberto Enrique Castillo, AKA Ito,                    DSF
         AKA Shadow,
                       Defendant-Appellant.                  OPINION

                   Appeal from the United States District Court
                      for the Central District of California
                    Dale S. Fischer, District Judge, Presiding

                    Argued and Submitted November 17, 2022
                              Pasadena, California

                                Filed May 31, 2023

             Before: Kim McLane Wardlaw and William A. Fletcher,
             Circuit Judges, and Matthew F. Kennelly,* District Judge.

                           Opinion by Judge Wardlaw


         *
           The Honorable Matthew F. Kennelly, United States District Judge for
         the Northern District of Illinois, sitting by designation.
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                                   SUMMARY**


                                   Criminal Law

            The panel vacated Roberto Castillo’s sentence for
         conspiracy to distribute at least 50 grams of
         methamphetamine in violation of 21 U.S.C. §§ 846 and 841,
         and remanded for resentencing, in a case in which the district
         court concluded that this offense of conviction qualified
         Castillo as a career offender under United States Sentencing
         Guidelines Manual (U.S.S.G.) § 4B1.1, as it was a
         “controlled substance offense” as defined by U.S.S.G. §
         4B1.2.
             The text of U.S.S.G. § 4B1.2(b) does not include
         “conspiracy to distribute” in its list of controlled substance
         offenses. Rather, Application Note 1 states that “controlled
         substance offenses” include “offenses of aiding and abetting,
         conspiring, and attempting to commit such offenses.” This
         court has previously held that Application Note 1
         permissibly expands on, and is consistent with, the text of
         § 4B1.2(b). See United States v. Vea-Gonzales, 999 F.2d
         1326 (9th Cir. 1993), overruled on other grounds by Custis
         v. United States, 511 U.S. 485 (1994); United States v. Crum,
         934 F.3d 963 (9th Cir. 2019), cert. denied, 140 S. Ct. 2629
         (2020).
             Under Stinson v. United States, 508 U.S. 36 (1993), the
         Guidelines’ commentary must be given controlling weight
         unless it is plainly erroneous or inconsistent with the

         **
           This summary constitutes no part of the opinion of the court. It has
         been prepared by court staff for the convenience of the reader.
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         regulation. Stinson’s broad deference to the commentary—
         as well as the broad deference afforded to agencies’
         interpretations of their own rules—has narrowed over
         time. In Kisor v. Wilkie, 139 S. Ct. 2400 (2019), the
         Supreme Court cabined the scope of this deference,
         clarifying that the possibility of deference to an agency’s
         interpretation of its own rules can arise only if a regulation
         is genuinely ambiguous. Under Kisor, not all reasonable
         agency constructions of those truly ambiguous rules are
         entitled to deference, and before concluding that a rule is
         genuinely ambiguous, a court must exhaust all the traditional
         tools of construction. If uncertainty does not exist after
         exhausting these tools, there is no plausible reason for
         deference.
             Explaining that the more demanding standard articulated
         in Kisor applies to the Guidelines’ commentary, the panel
         held that Kisor is an intervening decision and is clearly
         irreconcilable with the holdings in Vea-Gonzales and
         Crum. Applying the traditional tools of statutory
         construction to the text of the guideline, as Kisor instructs,
         the panel concluded that § 4B1.2(b) unambiguously
         identifies a list of crimes that does not include inchoate
         offenses. Because § 4B1.2(b)’s definition of “controlled
         substance offense” is unambiguous, the Supreme Court’s
         decision in Kisor now makes it impermissible to defer to
         Application Note 1 to determine whether conspiracy fits into
         this definition. Accordingly, the panel held that Crum and
         Vea-Gonzales applied an inappropriate level of deference to
         § 4B1.2(b)’s commentary, and consequently, these cases are
         irreconcilable with Kisor’s instructions regarding review of
         agency regulations and deference to an agency’s, including
         the Sentencing Commission’s, interpretive commentary. To
         the extent that Crum and Vea-Gonzales hold that an inchoate
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         offense is a “controlled substance offense” for career
         enhancement purposes under the Sentencing Guidelines, the
         panel overruled them.
             Further, deference to Application Note 1 raises grave
         constitutional concerns. The panel wrote that the Sentencing
         Commission’s lack of accountability in its creation and
         amendment of the commentary raises constitutional
         concerns when a court defers to commentary that expands
         unambiguous Guidelines, particularly because of the
         extraordinary power the Commission has over individuals’
         liberty interests. Here, Castillo’s career offender
         enhancement increased his advisory sentence range from
         151–188 months to 262–327 months under the Sentencing
         Guidelines. And his nearly 22-year sentence—imposed by
         the district court based on the Sentencing Guidelines—was
         approximately 7 to 10 years greater than it would have been
         without the enhancement, assuming the district court would
         have sentenced Castillo within the advisory sentence
         range. The panel wrote that surely neither Kisor nor Stinson
         permitted the Sentencing Commission to invoke its general
         interpretative authority via commentary to impose such a
         massive impact on a defendant with no grounding in the
         Guidelines themselves.
             Because the text of § 4B1.2(b) unambiguously does not
         include inchoate offenses, and because the court is no longer
         permitted to rely on the commentary of an unambiguous
         guideline after Kisor, the panel held that Castillo’s
         conspiracy conviction is not a “controlled substance
         offense” under § 4B1.1.
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                                 COUNSEL

         James H. Locklin (argued), Deputy Federal Public Defender;
         Cuauhtemoc Ortega, Federal Public Defender; Federal
         Public Defender’s Office; Los Angeles, California; for
         Defendant-Appellant.
         David R. Friedman (argued) and Lynda Lao, Assistant
         United States Attorneys; Bram M. Alden, Assistant United
         States Attorney, Criminal Appeals Section Chief; Tracy L.
         Wilkison, United States Attorney; Office of the United
         States Attorney; Los Angeles, California; for Plaintiff-
         Appellee.



                                  OPINION

         WARDLAW, Circuit Judge:

             Roberto Castillo pleaded guilty to the crime of
         conspiracy to distribute at least 50 grams of
         methamphetamine in violation of 21 U.S.C. §§ 846 and 841.
         The district court concluded that this offense of conviction
         qualified Castillo as a career offender under United States
         Sentencing Guidelines Manual (U.S.S.G.) § 4B1.1, as it was
         a “controlled substance offense,” as defined by U.S.S.G.
         § 4B1.2(b). However, the text of U.S.S.G. § 4B1.2(b) does
         not actually include “conspiracy to distribute” in its list of
         controlled substance offenses. Rather, Application Note 1
         states that “controlled substance offenses” include “offenses
         of aiding and abetting, conspiring, and attempting to commit
         such offenses.” We have previously held that Application
         Note 1 permissibly expands on, and is consistent with, the
         text of U.S.S.G. § 4B1.2(b). See United States v. Vea-
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         Gonzales, 999 F.2d 1326 (9th Cir. 1993), overruled on other
         grounds by Custis v. United States, 511 U.S. 485 (1994);
         United States v. Crum, 934 F.3d 963 (9th Cir. 2019), cert.
         denied, 140 S. Ct. 2629 (2020). We must decide whether
         Kisor v. Wilkie, 139 S. Ct. 2400 (2019), is intervening
         “clearly irreconcilable” authority that requires us to examine
         the plain text of the guideline, determine whether there is any
         ambiguity, and if there is not, to disregard the interpretive
         gloss set forth in the guideline’s commentary. Miller v.
         Gammie, 335 F.3d 889, 892–93 (9th Cir. 2003). In short, we
         must decide which side of a growing intercircuit split is
         correct on the question whether Application Note 1
         improperly expands the definition of “controlled substance
         offense” in § 4B1.2(b).
             Because we conclude that we must apply the Supreme
         Court’s decision in Kisor, and that Application Note 1
         improperly expands the definition of “controlled substance
         offense” in U.S.S.G. § 4B1.2(b), we vacate Castillo’s
         sentence and remand for resentencing consistent with this
         opinion.
                                       I.
             In May 2019, Roberto Castillo sold approximately 14
         grams of methamphetamine to a government informant for
         $100. In June 2019, he sold the same informant 53 grams of
         methamphetamine for $400. In July 2019, Castillo and
         Casandra Cachu, Castillo’s codefendant, arranged to sell the
         informant about 111.1 grams of methamphetamine for $440.
         Castillo and the informant made arrangements by phone, and
         Cachu delivered the drugs to the informant. In the course of
         these events, Castillo allegedly distributed or “conspired to
         distribute” a total of approximately 178.1 grams of
         methamphetamine.
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             Castillo was arrested in January 2020. A grand jury
         indicted Castillo on four counts, including one count of
         conspiracy to distribute methamphetamine, 21 U.S.C. §§
         846, 841. On September 21, 2020, Castillo pleaded guilty to
         the conspiracy count.
             At sentencing, the district court found the Presentence
         Report (PSR) prepared by the Probation Officer accurate and
         correct, and so adopted it. For the offense of conviction, the
         PSR calculated the base offense level at 32 based on the
         Drug Quantity Table set forth in U.S.S.G. § 2D1.1(c). The
         PSR then found that Castillo had two prior convictions under
         Cal. Health & Safety Code § 11378 that qualified as
         controlled substances offenses under U.S.S.G. §§ 4B1.1;
         4B1.2(b).1 The PSR then determined that Castillo’s instant
         conspiracy to distribute offense also was a controlled
         substance offense under the career offender guideline, and
         accordingly, increased the offense level by 5 to 37. It then
         recommended a 3-point reduction for acceptance of
         responsibility, to reach a total offense level of 34. The
         Probation Officer calculated a criminal history category of
         VI, for an advisory sentence range of 262 to 327 months.
         The Probation Officer recommended a sentence at the low
         end of the Guidelines, and the Government agreed. Absent
         the career offender enhancement, the applicable advisory
         range for Castillo would have been significantly lower—151
         to 188 months.

         1
           Castillo’s prior offenses include two convictions for possession of
         methamphetamine for sale, Los Angeles County Superior Court, Dkt.
         Nos. PA049723 and PA081690, in violation of California Health &
         Safety Code § 11378. Castillo was first convicted of this offense in
         December 2004, and sentenced to 28 months in state prison. He was
         again convicted of the same offense in November 2014, and sentenced
         to another two years in state prison.
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             The district court sentenced Castillo to 262 months’
         custody and ten years of supervised release. The court relied
         on the Probation Officer’s determination that Castillo’s
         conspiracy conviction is a “controlled substance offense” for
         purposes of the career offender adjustment. Castillo appeals
         his sentence.
                                       II.
              Under the Guidelines, a defendant is a “career offender”
         if: (1) the defendant was at least 18 years old at the time of
         the instant offense of conviction; (2) the instant offense is a
         felony that is either a crime of violence or a controlled
         substance offense; and (3) the defendant has at least two
         prior felony convictions of either a crime of violence or a
         controlled substance offense. U.S.S.G. § 4B1.1(a).
              Sentencing Guideline § 4B1.2 provides the definitions
         for the terms used in U.S.S.G. § 4B1.1. Subsection 4B1.2(b)
         defines the term “controlled substance offense” as:

                 [A]n offense under federal or state law,
                 punishable by imprisonment for a term
                 exceeding one year, that prohibits the
                 manufacture, import, export, distribution, or
                 dispensing of a controlled substance (or a
                 counterfeit substance) or the possession of a
                 controlled substance (or a counterfeit
                 substance) with intent to manufacture,
                 import, export, distribute, or dispense.

         Id. § 4B1.2(b).
            The text of § 4B1.2(b) does not identify conspiracy to
         commit any of the offenses as such an offense, but the
         guideline’s commentary expands the definition to include
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         conspiracy, as well as aiding and abetting or attempting the
         identified crimes.     Application Note 1 to U.S.S.G.
         § 4B1.2(b) provides that “controlled substance offenses”
         “include the offenses of aiding and abetting, conspiring, and
         attempting to commit such offenses.”            Id. § 4B1.2,
         application note 1.
             Conspiracy is an inchoate offense that is separate and
         independent from the crime that is the subject of the
         conspiracy. See United States v. Iribe, 564 F.3d 1155, 1160
         (9th Cir. 2009) (“Conspiracy to commit a crime is not
         equivalent to the completion of that crime.”). Black’s Law
         Dictionary defines “inchoate offense” as a “step toward the
         commission of another crime, the step in itself being serious
         enough to merit punishment.” Inchoate Offense, BLACK’S
         LAW DICTIONARY (11th ed. 2019).
              Black’s lists the three inchoate offenses as “attempt,
         conspiracy, and solicitation.” Id. Because “[b]y definition”
         inchoate crimes “do not require completion of the criminal
         objective,” United States v. Macias-Valencia, 510 F.3d
         1012, 1014 (9th Cir. 2007), the Guidelines distinguish
         between inchoate offenses and underlying substantive
         offenses. For instance, the Guidelines note that if the offense
         is a conspiracy to commit a substantive offense and is not
         covered by a specific offense guideline, the base level must
         be decreased by 3 levels unless certain narrow circumstances
         apply. U.S.S.G. § 2X1.1(b)(2), (c). And for career offender
         purposes, the guideline’s text includes an inchoate offense—
         “attempted use”—in the definition of a “crime of violence,”
         id. § 4B1.2(a), whereas it does not include any inchoate
         offenses in the definition of a “controlled substance
         offense,” id. § 4B1.2(b).
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                                        III.
             As a general matter, “[w]e review the district court’s
         interpretation of the Sentencing Guidelines de novo.” United
         States v. Rivera-Constantino, 798 F.3d 900, 902 (9th Cir.
         2015) (citing United States v. Grajeda, 581 F.3d 1186, 1188
         (9th Cir. 2009)). But here, the parties dispute the proper
         standard to apply to our review of the district court’s
         interpretation of the Sentencing Guidelines because Castillo
         did not challenge the career offender adjustment in district
         court. If an appellant fails to raise an issue in the district
         court proceedings, Federal Rule of Criminal Procedure 52(b)
         affords appellate courts discretion “to correct a forfeited
         error” if the appellant shows (1) an error, (2) that is plain, (3)
         that affects substantial rights, and (4) that seriously affects
         the fairness, integrity, or public reputation of judicial
         proceedings. Henderson v. United States, 568 U.S. 266, 272
         (2013).
             The Government argues that we should apply plain error
         review under Federal Rule of Criminal Procedure 52(b).
         Castillo responds that we may apply the de novo standard,
         even though the issue was not raised in the district court,
         because the issue before us is a purely legal question and the
         Government will suffer no prejudice as a result.
             In United States v. McAdory, 935 F.3d 838 (9th Cir.
         2019), we held that “we are not limited to [plain error]
         review when we are presented with [1] a question that is
         purely one of law and [2] where the opposing party will
         suffer no prejudice as a result of the failure to raise the issue
         in the trial court.” Id. at 841–42 (second and third alterations
         in original). Therefore, because the question in McAdory—
         whether an offense qualifies as a predicate felony—was a
         purely legal question, we applied the de novo standard of
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         review. Id.; see also United States v. Saavedra-Velazquez,
         578 F.3d 1103, 1106 (9th Cir. 2009) (holding that “we are
         not limited to [the plain error] standard of review when we
         are presented with a question that ‘is purely one of law’ and
         where ‘the opposing party will suffer no prejudice as a result
         of the failure to raise the issue in the trial court . . .’” (citation
         omitted)). Similarly, here, neither party disputes that the
         applicability of the career offender requirements is a purely
         legal question, and the Government has not argued that it
         will suffer prejudice because Castillo failed to raise the issue
         in district court.
             But the assumption that de novo review applies to purely
         legal questions that have not been argued below has been
         called into question both by our court and by the Supreme
         Court. See United States v. Zhou, 838 F.3d 1007, 1015–16
         (9th Cir. 2016) (Graber, J., concurring) (“Our ‘pure question
         of law’ exception contradicts Rule 52(b) and the Supreme
         Court’s case law.”); Henderson, 568 U.S. at 269–70
         (applying the plain error standard to a “[d]istrict [c]ourt’s
         decision on a substantive legal question that was unsettled at
         the time the trial court acted”).
             Because McAdory controls in our circuit but it remains
         an open question “whether [our] precedent can be reconciled
         with the Supreme Court’s cases interpreting Federal Rule of
         Criminal Procedure 52(b),” we assume without deciding that
         de novo review applies here. United States v. Begay, 33
         F.4th 1081, 1090 n.3 (9th Cir. 2022) (en banc). It is
         unnecessary for us to decide the appropriate standard of
         review to apply because “the outcome of our analysis would
         be the same whether we apply plain error or de novo
         review.” Id. at 1089.
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                                          IV.
             Castillo argues that the district court erred by concluding
         that his offense of conviction—conspiracy to distribute—is
         a “controlled substance offense” that qualifies him as a
         career offender under U.S.S.G. § 4B1.1.
             We agree. Castillo’s sentence was for a drug conspiracy.
         The Sentencing Guidelines’ definition of “controlled
         substance offense” for career offender enhancements
         currently does not include inchoate crimes like conspiracies,
         although the commentary extends the definition to such
         crimes. U.S.S.G. § 4B1.2(b), application note 1. Because
         only the commentary includes inchoate crimes, and the text
         of the guideline unambiguously does not, applying the
         Supreme Court’s Kisor analysis, we must conclude that
         Castillo’s conspiracy conviction does not qualify as a
         “controlled substance offense” under U.S.S.G. § 4B1.2(b).
                                           A.
            The Government argues that our precedent in Vea-
         Gonzales and Crum foreclose Castillo’s argument that his
         conspiracy to distribute conviction is not a “controlled
         substance offense.”2


         2
           The Government also argues that we have already held that 21 U.S.C.
         § 846 qualifies as a controlled substance offense in United States v.
         O’Brien, 52 F.3d 277, 279 (9th Cir. 1995). But O’Brien did not address
         the question before us. In O’Brien, a defendant charged with conspiracy
         to distribute cocaine and marijuana under § 846 argued that he did not
         qualify for the same statutory life-term enhancement as mandated for the
         substantive underlying conviction under § 841(b)(1)(A)(ii)(II), because
         he did not plead guilty to the underlying drug offense described in
         § 841(a)(1). Id. at 278. The O’Brien court noted that an individual
         convicted of attempt or conspiracy is subject to the same penalties as
         those prescribed for the underlying offense (the standard articulated in
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             In Vea-Gonzales, the defendant made the same argument
         that Castillo makes here: that Application Note 1 to U.S.S.G.
         § 4B1.2(b), “which states that the predicate offenses include
         aiding and abetting, impermissibly exceeds the scope of
         [§] 4B1.2(b) itself.” 999 F.2d at 1330. We applied a
         standard of interpretation nearly unrecognizable today. We
         wrote that “[i]n interpreting the Guidelines and their
         accompanying commentaries, courts are required to consider
         them together, and, if possible, as consistent with each
         other.” Id. We held that only if the guideline is
         irreconcilable with the commentary “is the court to consider
         the guideline alone.” Id. We found the guideline and
         commentary were “perfectly consistent” because “[t]he
         guideline refers to violations of laws prohibiting the
         manufacture, import, export, distribution, or dispensing of
         drugs,” and “[a]iding and abetting, conspiracy, and attempt
         are all violations of those laws.” Id.
             Twenty-six years later, in Crum, we again addressed the
         question whether “Application Note 1 of § 4B1.2 lacks legal
         force because it is inconsistent with the text of the
         guideline.” 934 F.3d at 966. We explained that if it were
         inconsistent, courts would be prohibited “from relying on the
         commentary to expand the definition of ‘controlled
         substance offense’ to include solicitation”—the predicate
         crime at issue in Crum. Id. We further noted the developing

         the statutory language of § 846), and therefore the defendant was subject
         to the life-term enhancement. Id. But O’Brien did not consider whether
         § 4B1.2(b)’s commentary is authoritative. In O’Brien, we considered
         only whether the Sentencing Commission had the statutory authority
         under 28 U.S.C. § 994(h) to include “conspiracy” within the definition
         of “controlled substance offense” in the career offender provision of the
         Guidelines—an authority neither party disputes here. Id. at 279.
         Therefore, O’Brien is not controlling.
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         intercircuit split on the inconsistency vel non between the
         Guidelines and the commentary. We said “[i]f we were free
         to do so,” we would follow the circuits that had held that the
         two were inconsistent and hold that “the commentary
         improperly expands the definition of ‘controlled substance
         offense’ to include other offenses not listed in the text of the
         guideline.” Id. at 966. We found it troubling that “the
         Sentencing Commission ha[d] exercised its interpretive
         authority to expand the definition of ‘controlled substance
         offense’ in this way, without any grounding in the text of
         § 4B1.2(b) and without affording any opportunity for
         congressional review.” Id. However, we were “compelled”
         to follow Vea-Gonzales’s holding that the two were
         consistent because “[n]o intervening higher authority [was]
         ‘clearly irreconcilable’ with the reasoning of Vea-
         Gonzales.” Id. at 966–67.
             Kisor was decided half a year after oral argument in
         Crum, and was not cited to the Crum panel before it issued
         its decision. The decision does not indicate that the Crum
         panel considered in any way the effect of Kisor’s new rules
         of guideline interpretation on the reasoning of Vea-
         Gonzales. We do so now.
                                       B.
             In Stinson v. United States, 508 U.S. 36, 38–41 (1993)—
         decided 30 years ago as of this month—the Supreme Court
         clarified the legal force of the Guidelines’ commentary. It
         held that “commentary in the Guidelines Manual that
         interprets or explains a guideline is authoritative unless it
         violates the Constitution or a federal statute, or is
         inconsistent with, or a plainly erroneous reading of, that
         guideline.” Id. at 39.
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             The Stinson Court explained that the Sentencing
         Commission, created by the Sentencing Reform Act of 1984,
         18 U.S.C. § 3551 et seq., “promulgate[d] the guidelines by
         virtue of an express congressional delegation of authority for
         rulemaking”—the “equivalent of legislative rules adopted
         by federal agencies.” Stinson, 508 U.S. at 44–45. And any
         amendment to the Guidelines must be submitted to Congress
         for a six-month period of review, during which time
         Congress can “modify or disapprove them.” Id. at 41.
         However, unlike the Guidelines themselves (but like an
         agency’s interpretation of its own regulations), the
         Guidelines’ commentary is not subject to mandatory
         congressional review. Id. at 45. Under the administrative
         agency analogy then, “commentary [should] be treated,” and
         receive the same level of deference as, “an agency’s
         interpretation of its own legislative rule.” Id. at 44.
             Therefore, under Stinson, commentary “must be given
         ‘controlling weight unless it is plainly erroneous or
         inconsistent with the regulation.’” Id. at 45 (quoting Bowles
         v. Seminole Rock & Sand Co., 325 U.S. 410, 414 (1945)).
         Notably, under Stinson deference, commentary “provides
         concrete guidance as to how even unambiguous guidelines
         are to be applied in practice.” Id. at 44. As a result, even
         when commentary may expand the meaning of the
         Guidelines, if it is not plainly inconsistent with the
         Guidelines, it is binding on the federal courts. Id. at 44–45;
         see also Auer v. Robbins, 519 U.S. 452, 461 (1997) (holding
         that a federal agency’s interpretation of a regulation is
         controlling where it is not “plainly erroneous or inconsistent
         with the regulation” (internal quotation marks and citation
         omitted)).
            Stinson’s broad deference to the Guidelines’
         commentary—as well as the broad deference afforded to
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         agencies’ interpretations of their own rules described in
         Seminole Rock and Auer—has narrowed over time.
         Recently, in Kisor, the Supreme Court “cabined [the] scope”
         of this deference, clarifying that “the possibility of
         deference” to an agency’s interpretation of its own rules “can
         arise only if a regulation is genuinely ambiguous.” 139 S.
         Ct. at 2414, 2418 (emphasis added). Still more, the Court
         reasoned, “not all reasonable agency constructions of those
         truly ambiguous rules are entitled to deference.” Id. at 2414.
         And, “before concluding that a rule is genuinely ambiguous,
         a court must exhaust all the ‘traditional tools’ of
         construction.” Id. at 2415 (quoting Chevron U.S.A. Inc. v.
         Nat. Res. Def. Council, Inc., 467 U.S. 837, 843 n.9 (1984)).
         “If uncertainty does not exist” after exhausting these tools,
         “there is no plausible reason for deference.” Id.
              The more demanding deference standard articulated in
         Kisor applies to the Guidelines’ commentary. Kisor directly
         examined and narrowed Seminole Rock and Auer deference
         in the context of an administrative agency’s interpretation of
         its own regulation, noting that such deference is not
         permitted without first finding the regulation ambiguous.
         Stinson deference is directly grounded in Seminole Rock and
         Auer deference. Indeed, the deference standard articulated
         by the Court in Stinson—that commentary “must be given
         ‘controlling weight unless it is plainly erroneous or
         inconsistent’” with the guideline’s text—is a direct quotation
         from Seminole Rock. Stinson, 508 U.S. at 45 (quoting
         Seminole Rock, 325 U.S. at 414). And although Kisor did
         not distinguish between an agency’s interpretation of its own
         regulations and the commentary’s interpretation of the
         Guidelines, “the only way to harmonize [Kisor and Stinson]
         is to conclude that Kisor’s gloss on Auer and Seminole Rock
         applies to Stinson.” United States v. Dupree, 57 F.4th 1269,
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         1275 (11th Cir. 2023) (en banc) (“Stinson adopted word for
         word the test the Kisor majority regarded as a ‘caricature,’
         so the continued mechanical application of that test would
         conflict directly with Kisor.”). Therefore, to “follow
         Stinson’s instruction to treat the commentary like an
         agency’s interpretation of its own rule, we must apply
         Kisor’s clarification of Auer deference to Stinson.” Id. at
         1276.
                                      C.
             Castillo argues that after Kisor, Vea-Gonzales and Crum
         are no longer binding on us on the question whether
         Application Note 1 is a permissible interpretation of
         U.S.S.G. § 4B1.2(b). We are generally bound by our own
         precedent. However, “a three-judge panel may reexamine
         normally controlling circuit precedent in the face of an
         intervening United States Supreme Court decision” in
         certain narrow circumstances such as “where the reasoning
         or theory of our prior circuit authority is clearly
         irreconcilable with the reasoning or theory of intervening
         higher authority.” See Miller, 335 F.3d at 892–93.
             Castillo’s argument tees up two questions: (1) is Kisor
         an intervening decision, and (2) is Kisor clearly
         irreconcilable with our prior decisions, such that we may
         reexamine our precedent as a three-judge panel? We answer
         both questions in the affirmative. Kisor is an intervening
         decision of a higher authority that is clearly irreconcilable
         with our holdings in Vea-Gonzales and Crum.
                                      1.
            Kisor serves as an intervening decision. The Crum panel
         did not address the effect of Kisor on our deference to
         Application Note 1. The Government argues that because
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         the Supreme Court issued its opinion in Kisor two months
         before we issued our decision in Crum, Kisor is not an
         intervening decision.
              We disagree. The Supreme Court issued the Kisor
         decision after we heard oral argument in Crum, and less than
         two months before the Crum panel rendered its opinion. The
         litigants did not raise Kisor to the panel before it issued its
         decision. The Crum panel applied Stinson’s deference
         standard to reach its holding, and expressly held it was not
         aware of intervening higher authority.3 Crum, 934 F.3d at
         967.
             Contrary to the Government’s suggestion, no panel in
         our circuit has considered Kisor’s effect on our interpretation
         of Application Note 1 since Crum. In United States v.
         House, 31 F.4th 745 (9th Cir. 2022) (per curiam), we stated
         that we were “bound by Crum” to hold that Application Note
         1 “expands the prohibited conduct” of § 4B1.2 to inchoate
         offenses. Id. at 749, 753. The House decision did not
         mention Kisor; nor did the parties raise the potential effect
         of Kisor on the legal force accorded to Application Note 1 in
         their briefings. See generally Parties’ Briefings, United

         3
           After the decision was published, Crum filed a petition for rehearing
         and rehearing en banc, arguing that the panel should not have relied on
         Vea-Gonzales. Appellee’s Petition for Rehearing and Rehearing En
         Banc at 2, United States v. Crum, 934 F.3d 963 (9th Cir. 2019) (No. 17-
         30261), ECF No. 42. Although the petition mentioned Kisor, it did not
         directly address the issue before us now. Rather, it focused on the Crum
         panel’s mistaken reliance on the “out-of-date” pre-Stinson deference
         standard articulated in Vea-Gonzales. Id. at 2, 12–13 (comparing Stinson
         and Vea-Gonzales and noting that Stinson subjects commentary to
         Auer/Seminole Rock deference, binding courts only if the commentary
         bears on the construction of the guideline it is interpreting). The case
         was not reheard by the panel or en banc.
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         States v. House, 31 F.4th 745 (9th Cir. 2022) (No. 20-
         30169), ECF Nos. 4, 18, 23. Because the House court did
         not consider the impact of Kisor, it does not bind us. See
         United States v. Hogue, No. 20-30043, 2022 WL 4103627,
         at *2 (9th Cir. Sept. 8, 2022) (Paez, J., concurring) (“None
         of this court’s opinions evaluating Application Note 1 have
         considered whether the Supreme Court’s decision in Kisor
         clarified the rule laid out in Stinson.” (internal citations
         omitted)).
             Nor have we decided how Kisor affects the extent of
         deference owed to other commentary interpreting the
         Guidelines. In United States v. Kirilyuk, 29 F.4th 1128 (9th
         Cir. 2022)—decided three years after Kisor—we applied
         Stinson deference to conclude that Application Note
         3(F)(i)’s interpretation of “loss” for calculating the
         applicable offense level for crimes such as credit card fraud
         under U.S.S.G. § 2B1.1 is not legally binding on courts. Id.
         at 1134. We reasoned that the Application Note, which
         defined “loss” accorded to a stolen credit card as an
         automatic $500, is inconsistent with the plain meaning of the
         word “loss” in the guideline. Id. at 1137. We chose “not
         [to] express a view” on whether we are required to “apply[]
         the narrower deference set out in [Kisor],” because the
         Application Note in that instance was not binding even under
         the broader test laid out in Stinson. Id. at 1138–39.
             Because neither Vea-Gonzales, Crum, nor any other
         Ninth Circuit decision analyzed Application Note 1’s
         validity under Kisor, no “case binds us on this question.”
         Kirilyuk, 29 F.4th at 1134 (noting that even though “two
         published cases” had interpreted and applied the application
         note at issue, “no Ninth Circuit case ha[d] considered
         whether [the] Application Note . . . conflicts with the
         meaning of ‘loss’” in the Guidelines, and therefore the issue
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         “remain[ed] an open question in our circuit”). Surely, issues
         which are “neither brought to the attention of the court nor
         ruled upon, are not to be considered as having been so
         decided as to constitute precedents.” Id. (citation omitted);
         see also Brecht v. Abrahamson, 507 U.S. 619, 631 (1993)
         (holding that when a court has “never squarely addressed the
         issue, and ha[s] at most assumed” something in a prior
         decision, it is “free to address the issue on the merits”);
         Medina-Rodriguez v. Barr, 979 F.3d 738, 747 (9th Cir.
         2020) (noting that “unstated assumptions on non-litigated
         issues are not precedential holdings binding future
         decisions” (citation omitted)).
             Because no prior Ninth Circuit panel has considered the
         effect of Kisor on the Stinson deference we previously
         applied to the Guidelines’ commentary, we conclude that
         Kisor is an intervening decision of a higher authority.
                                       2.
             Kisor’s reasoning is clearly irreconcilable with Vea-
         Gonzales and Crum. Applying the traditional tools of
         statutory construction to the text of the guideline, as Kisor
         instructs, we conclude that § 4B1.2(b) unambiguously
         identifies a list of crimes that does not include inchoate
         offenses. The Government’s argument that Kisor is not
         irreconcilable with Vea-Gonzales and Crum because “either
         the career offender guideline applies here unambiguously
         [and encompasses conspiracies], or the commentary is
         entitled to Kisor deference because the guideline is
         ambiguous,” is not supported by the text of § 4B1.2(b).
            Section 4B1.2(b) sets forth the specific offenses that
         qualify as controlled substance offenses—manufacturing,
         importing, exporting, distributing, dispensing, or possessing.
         The canon of construction, expressio unius est exclusio
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         alterius, directs us to infer from Congress’s express
         inclusion of enumerated offenses that its exclusion of
         inchoate crimes was intentional. See United States v. Nasir,
         17 F.4th 459, 471–72 (3d Cir. 2021) (en banc); United States
         v. Winstead, 890 F.3d 1082, 1091 (D.C. Cir. 2018). Because
         the plain text of § 4B1.2(b) unambiguously excludes
         inchoate crimes, we are not permitted under Kisor to defer
         to the Commission’s commentary. See Dupree, 57 F.4th at
         1277 (“A definition which declares what a term means
         excludes any meaning that is not stated.” (internal quotation
         marks omitted) (quoting Burgess v. United States, 553 U.S.
         124, 130 (2008)).
             Further, the exclusion of inchoate offenses in § 4B1.2(b)
         stands in sharp contrast to the inclusion of attempt, an
         inchoate offense, within a different subsection of the same
         provision: Section 4B1.2(b)’s plain language clearly omits
         inchoate offenses in the definition of the term “controlled
         substance offense,” whereas § 4B1.2(a)’s plain language
         includes some inchoate offenses in the definition of the term
         “crime of violence.” See U.S.S.G. § 4B1.2(a)(1) (defining
         “crime of violence” to include an offense that, among other
         things, “has as an element the use, attempted use, or
         threatened use of physical force against the person of
         another” (emphasis added)). The Supreme Court has
         emphasized that “Congress generally acts intentionally
         when it uses particular language in one section of a statute
         but omits it in another,” and that this canon “applies with
         particular force” when the use and omission occur “in close
         proximity” to one another. Dep’t of Homeland Sec. v.
         MacLean, 574 U.S. 383, 391–92 (2015).
            Here, this distinction between definitions in neighboring
         subsections within the same provision shows that the drafters
         knew how to include inchoate offenses in defining
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         “controlled substance offense” for sentencing enhancement
         purposes, but chose not to do so. See Winstead, 890 F.3d at
         1092 (“[W]hen enumerating a list of specific offenses that
         qualify to support career offender status, the drafters
         declined to include attempt despite its presence elsewhere.”);
         Rotkiske v. Klemm, 140 S. Ct. 355, 361 (2019) (“Atextual
         judicial supplementation is particularly inappropriate when,
         as here, [the drafter] has shown that it knows how to adopt
         the omitted language or provision.”). That the Sentencing
         Commission chose to add inchoate offenses to the definition
         of “controlled substance offenses” in the commentary,
         demonstrates that it, too, recognized they were omitted from
         the § 4B1.2(b) definition.
                                       a.
             We are not alone in re-evaluating our precedent in light
         of the Supreme Court’s decision in Kisor. Prior to Kisor,
         circuit courts were already divided on whether to afford
         deference to Application Note 1 in determining whether
         § 4B1.2(b) includes inchoate offenses. Kisor deepened the
         existing circuit split, as our sister circuits began to rethink
         their broad deference to the Guidelines’ commentary.
             Before Kisor, when the more permissive deference
         standard laid out in Stinson was the law of the land, only the
         D.C. and Sixth Circuits declined to defer to Application Note
         1 in defining “controlled substance offenses.” See Winstead,
         890 F.3d at 1091; United States v. Havis, 927 F.3d 382, 387
         (6th Cir. 2019) (en banc) (per curiam). These circuits held
         that, under Stinson, the definition of “controlled substance
         offense” does not include inchoate offenses.
            The D.C. Circuit in Winstead held that § 4B1.2(b)’s
         “commentary in Application Note 1 exceeds its authority
         under Stinson” because the guideline and its accompanying
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         commentary are “indeed inconsistent,” and the commentary
         impermissibly expands the scope of the plain language of the
         guideline. 890 F.3d at 1091. Invoking the canon of
         expressio unius, the Winstead court explained that
         “[§] 4B1.2(b) presents a very detailed ‘definition’ of
         controlled substance offense that clearly excludes inchoate
         offenses.” Id. The D.C. Circuit concluded that “the
         Commission showed within § 4B1.2 itself that it knows how
         to include attempt offenses when it intends to do so.” Id. The
         court noted “[i]f the Commission wishes to expand the
         definition of ‘controlled substance offenses’ to include
         attempts, it may seek to amend the language of the
         guidelines by submitting the change for congressional
         review.” Id. at 1092.
              The Sixth Circuit agreed with Winstead and held that
         “[t]he text of § 4B1.2(b) controls, and it makes clear that
         attempt crimes do not qualify as controlled substance
         offenses.” Havis, 927 F.3d at 387. The Sixth Circuit wrote
         that application notes are to be “interpretations of, not
         additions to, the Guidelines themselves.” Id. at 386 (quoting
         United States v. Rollins, 836 F.3d 737, 742 (7th Cir. 2016)).
         Citing Winstead, it reasoned that “[if] that were not so, the
         institutional constraints that make the Guidelines
         constitutional in the first place—congressional review and
         notice and comment—would lose their meaning.” Id. at
         386–87. But here, the commentary “d[oes] not interpret a
         term in the guideline itself,” but rather “add[s] an offense not
         listed in the guideline.” Id. at 386. The Havis court
         concluded that the “use of commentary to add attempt
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         crimes to the definition of ‘controlled substance offense’
         deserves no deference” under Stinson. Id. at 387.4
             However, before Kisor was decided, the majority of the
         remaining circuits agreed with our decisions in Vea-
         Gonzales and Crum that because Application Note 1 was
         consistent with the “controlled substance offense” guideline,
         courts would defer to it, making inchoate offenses
         “controlled substance offenses.” See United States v. Piper,
         35 F.3d 611, 617 (1st Cir. 1994); United States v. Jackson,
         60 F.3d 128, 131 (2d Cir. 1995); United States v. Hightower,
         25 F.3d 182, 187 (3d Cir. 1994), overruled by Nasir, 17 F.4th
         459; United States v. Mendoza-Figueroa, 65 F.3d 691, 692–
         93 (8th Cir. 1995) (en banc); United States v. Smith, 54 F.3d
         690, 693 (11th Cir. 1995), overruled by Dupree, 57 F.4th
         1269; see also United States v. Walton, 56 F.3d 551, 555–56
         (4th Cir. 1995) (relying on Application Note 1 without
         explicitly discussing the consistency between the
         commentary and the “controlled substance offense”
         guideline or conducting a deference analysis); United States
         v. Lightbourn, 115 F.3d 291, 293 (5th Cir. 1997) (same);
         Boyer v. United States, 55 F.3d 296, 297–98 (7th Cir. 1995)
         (same); United States v. Allen, 24 F.3d 1180, 1185–86 (10th
         Cir. 1994) (same).




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           Although Havis was published after Kisor, the decision did not cite or
         even discuss Kisor’s effect on the deference afforded to the Guidelines’
         commentary. See generally Havis, 972 F.3d 382. Indeed, once the Sixth
         Circuit had the opportunity to examine the implications of Kisor, it
         recognized that its pre-Kisor cases had upheld commentary expanding
         the Guidelines, but those cases could not stand after Kisor. See United
         States v. Riccardi, 989 F.3d 476, 485 (6th Cir. 2021).
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                                           b.
             After the Supreme Court issued its decision in Kisor,
         however, the Third, Fourth, and Eleventh Circuits joined the
         Sixth and D.C. Circuits to hold that we cannot defer to
         Application Note 1 to interpret § 4B1.2(b). See Nasir, 17
         F.4th at 471 (explaining that, after Kisor, it is clear that the
         court went “too far in affording deference to the guidelines’
         commentary under” Stinson); United States v. Campbell, 22
         F.4th 438, 444 (4th Cir. 2022) (noting that “if there were any
         doubt that under Stinson the plain text” of the guideline
         requires the conclusion that an attempt offense is not a
         “controlled substance offense,” Kisor “renders this
         conclusion indisputable”); Dupree, 57 F.4th at 1271, 1277
         (holding that, “[w]ith Kisor’s refined deference scheme in
         mind,” the “definition of ‘controlled substance offense’ in
         § 4B1.2(b) of the Sentencing Guidelines does not include
         inchoate offenses like conspiracy and attempt”).
         Specifically, the Third and Eleventh Circuits overturned
         their circuit caselaw relying on Stinson, holding that
         deference to Application Note 1 is irreconcilable with Kisor.
         Accordingly, post-Kisor, the Third, Fourth, Sixth, Eleventh,
         and D.C. Circuits do not defer to the expanded definition of
         “controlled substance offense” in Application Note 1.5
             In Nasir, the Third Circuit overturned its prior ruling in
         Hightower, 25 F.3d at 187—in which it had relied on
         Stinson’s understanding of deference to commentary—after

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          The Fifth Circuit is also reconsidering its precedent deferring to the
         Sentencing Guidelines’ commentary. On August 24, 2022, the Fifth
         Circuit granted en banc review to consider Kisor’s impact on its
         deference to commentary. See United States v. Vargas, 35 F.4th 936 (5th
         Cir. 2022), reh’g en banc granted, vacated, 45 F.4th 1083 (5th Cir.
         2022). As of May 23, 2023, the Fifth Circuit’s decision remains pending.
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         Kisor was issued. Nasir, 17 F.4th at 470–71. The court
         explained:

                 Our interpretation of the commentary at issue
                 in Hightower – the same commentary before
                 us now – was informed by the then-prevailing
                 understanding of the deference that should be
                 given to agency interpretations of their own
                 regulations. Thus, although we recognized
                 that the commentary expanded and did not
                 merely interpret the definition of “controlled
                 substance offense,” we nevertheless gave it
                 binding effect. In doing so, we may have
                 gone too far in affording deference to the
                 guidelines’ commentary under the standard
                 set forth in Stinson. Indeed, after the Supreme
                 Court’s recent decision in [Kisor], it is clear
                 that such an interpretation is not warranted.

         Id.
             The Third Circuit acknowledged that the Supreme Court
         in Kisor “cut back on what had been understood to be
         uncritical and broad deference to agency interpretations of
         regulations and explained that Auer, or Seminole Rock,
         deference should only be applied when a regulation is
         genuinely ambiguous.” Id. at 471. Applying Kisor’s refined
         deference standard, the Nasir court held that “a plain-text
         reading of [§] 4B1.2(b)” indicates that it does not include
         inchoate crimes. Id. at 471; see also Riccardi, 989 F.3d at
         485 (recognizing that broad deference to Guidelines’
         commentary “could not stand after Kisor,” and that Kisor
         “must awake us ‘from our slumber of reflexive deference’ to
         the commentary” (citation omitted)); Mountain Cmtys. for
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         Fire Safety v. Elliott, 25 F.4th 667, 675 (9th Cir. 2022)
         (noting that in Kisor, “the [Supreme] Court has recently
         retrenched on [] Auer deference”).
              And recently, in Dupree, the Eleventh Circuit joined the
         Third Circuit by overruling its prior holdings in United
         States v. Weir, 51 F.3d 1031 (11th Cir. 1995), and Smith, 54
         F.3d 690, in light of Kisor to conclude that “the definition of
         ‘controlled substance offense’ in § 4B1.2(b) does not
         include inchoate offenses.” Dupree, 57 F.4th at 1271. The
         Eleventh Circuit clarified that it was not disregarding
         Stinson’s holding, but rather it was “apply[ing] Kisor’s
         clarification of Auer deference to Stinson.” Dupree, 57 F.4th
         at 1276. Beginning with the text of § 4B1.2(b), and
         “applying our traditional tools of statutory interpretation,”
         the Dupree court concluded that the plain language of the
         guideline’s text “unambiguously excludes inchoate
         offenses.” Id. at 1277. Because it found the guideline’s text
         unambiguous, the Eleventh Circuit held that its analysis was
         complete, and it had “no need to consider, much less defer
         to, the commentary in Application Note 1.” Id. at 1279.
             The Fourth Circuit has also held that an attempt crime
         does not constitute a “controlled substance offense” under
         Kisor because the guideline’s plain text does not include
         inchoate crimes. Campbell, 22 F.4th at 447. The Campbell
         court determined that this was an issue of first impression,
         even though it had applied Application Note 1 in its prior
         decision in United States v. Kennedy, 32 F.3d 876 (4th Cir.
         1994). Id.; see also Kennedy, 32 F.3d at 888 (deferring to
         Application Note 1 and determining that a defendant
         convicted of conspiracy to distribute cocaine qualified as a
         career offender under § 4B1.1). The Campbell court held
         that Kennedy was not dispositive because Kennedy did not
         determine whether deference to the commentary was
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         appropriate; it discussed only whether the Sentencing
         Commission had the statutory authority to add inchoate
         offenses to the definition of “controlled substance offense.”
         See Campbell, 22 F.4th at 447. But even assuming Kennedy
         and its past cases had resolved the question before it, the
         Campbell court held that “Kisor would have at the very least
         undermined those cases’ holdings,” and therefore it would
         “not [have been] bound” by its prior precedent. Id.6
            On the other side of the post-Kisor split, the First,
         Second, Seventh, Eighth, and Tenth Circuits have continued
         to defer to Application Note 1. Significantly, however,
         while these opinions were published after the Supreme
         Court’s decision in Kisor, nearly all fail to address how
         Kisor affects deference to the Guidelines’ commentary. See
         United States v. Richardson, 958 F.3d 151, 154–55 (2d Cir.
         2020) (relying on Stinson and prior circuit precedent to
         conclude that Application Note 1 is binding, without
         engaging in an analysis of Kisor); United States v. Smith, 989

         6
           We note that twelve days after the Fourth Circuit published Campbell,
         it published United States v. Moses, 23 F.4th 347 (4th Cir. 2022), cert.
         denied, 143 S. Ct. 640 (2023), in which it found that Application Note
         5(C) to U.S.S.G. § 1B1.3 should be afforded binding effect under
         Stinson. Id. at 349. In doing so, the Moses court held that “Stinson
         continues to apply unaltered by Kisor.” Id. This directly conflicts with
         the Campbell court’s opinion. See id. at 359 (King, J., concurring in part)
         (“The legal analysis of the panel majority in this case conflicts with the
         Campbell precedent in concluding that the Supreme Court’s decision in
         Kisor is inapplicable. Crucially, no panel of this Court is entitled to
         circumscribe or undermine an earlier panel decision.” (citations
         omitted)). Because Campbell is the earlier ruling, Campbell controls;
         moreover, unlike Moses, Campbell specifically declines to defer to
         Application Note 1. Therefore, we must assume that Fourth Circuit
         precedent holds that inchoate crimes do not qualify as controlled
         substance offenses under the Guidelines.
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         F.3d 575, 583–85 (7th Cir. 2021) (continuing to follow its
         pre-Kisor precedent which deferred to the commentary of
         § 4B1.2(b), without engaging in an analysis of Kisor);
         United States v. Jefferson, 975 F.3d 700, 708 (8th Cir. 2020),
         cert. denied, 141 S. Ct. 2820 (2021) (holding that the
         commentary controls and relying on past precedent without
         engaging in an analysis of Kisor); see also United States v.
         Lovato, 950 F.3d 1337, 1347 (10th Cir. 2020); cert. denied,
         141 S. Ct. 2814 (2021) (relying on prior circuit precedent to
         defer to Application Note 1 without engaging in an analysis
         of Kisor).
             Only the First Circuit has held that Kisor is not
         irreconcilable with its circuit precedent. In United States v.
         Lewis, 963 F.3d 16 (1st Cir. 2020), cert. denied, 141 S. Ct.
         2826 (2021), the First Circuit concluded that “circuit
         precedent forecloses” an argument that the definition of
         “controlled substance offense” does not include inchoate
         crimes, even after the Supreme Court’s decision in Kisor. Id.
         at 22–23. Although the Lewis court noted that Kisor requires
         that we not afford deference unless a regulation is genuinely
         ambiguous, it ultimately held that it “do[es] not find
         anything in [its] prior opinions suggesting that those panels
         understood themselves as straying beyond the zone of
         genuine ambiguity in deeming Application Note 1 consistent
         with § 4B1.2.” Id. at 24.
             We are unpersuaded by the First Circuit’s decision. The
         Lewis court determined it was bound to follow its prior
         panels under the “law of the circuit doctrine” because its
         circuit precedent interpreted § 4B1.2(b) to be within Kisor’s
         “zone of ambiguity.” Id. at 23–24. Therefore, according to
         the Lewis court, there was no sound basis to conclude that
         the prior panels would have “found in Kisor any reason to
         change [their] collective mind[s]” in regard to the extent of
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         deference owed to Application Note 1. Id. at 24 (alterations
         in original) (internal quotation marks and citations omitted).
              In our circuit, however, we cannot state with confidence
         that prior panels have interpreted § 4B1.2(b) to be within
         Kisor’s “zone of ambiguity” so as to trigger deference.
         Indeed, the panel in Crum came to the opposite conclusion.
         It stated: “If we were free to do so, we would follow the Sixth
         and D.C. Circuits’ lead. In our view, the commentary
         improperly expands the definition of ‘controlled substance
         offense’ to include other offenses not listed in the text of the
         guideline.” Crum, 934 F.3d at 966. Because Crum found
         that the guideline’s text unambiguously excludes conspiracy
         offenses, our prior panel would have “found in Kisor [a]
         reason to change [their] collective mind[s].” Lewis, 963 F.3d
         at 24 (second and third alteration in original) (internal
         quotation marks and citations omitted).
              Additionally, the Lewis court made a conclusory finding
         that § 4B1.2(b)’s text was ambiguous without “exhaust[ing]
         all the traditional tools of construction,” as Kisor requires.
         139 S. Ct. at 2415 (internal quotation marks and citation
         omitted). We believe that if it had employed these tools, it
         would have concluded, as we do, that the guideline
         unambiguously excludes inchoate offenses, and therefore
         Kisor is an irreconcilable, intervening decision of a higher
         authority that requires reexamination of its precedent.
                                       D.
             Because we find that § 4B1.2(b)’s definition of
         “controlled substance offense” is unambiguous, the Supreme
         Court’s decision in Kisor now makes it impermissible to
         defer to Application Note 1 to determine whether conspiracy
         fits into this definition. Kisor, 139 S. Ct. at 2415 (“If
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         uncertainty does not exist, there is no plausible reason for
         deference.”).
             Accordingly, we hold that our precedent in Crum and
         Vea-Gonzales applied an inappropriate level of deference to
         § 4B1.2(b)’s commentary, and consequently, these cases are
         irreconcilable with Kisor’s instructions regarding review of
         agency regulations and deference to an agency’s, including
         the Sentencing Commission’s, interpretive commentary. To
         the extent that Crum and Vea-Gonzales hold that an inchoate
         offense is a “controlled substance offense” for career
         enhancement purposes under the Sentencing Guidelines, we
         overrule them.7
                                            V.
             Further, deference to Application Note 1 raises grave
         constitutional concerns. The Sentencing Commission,
         “established as an independent commission in the judicial
         branch of the United States,” 28 U.S.C. § 991(a), “is fully
         accountable to Congress, which can revoke or amend any or
         all of the Guidelines.” Mistretta v. United States, 488 U.S.
         361, 393 (1989). Moreover, the Commission’s “rulemaking
         is subject to the notice and comment requirements of the

         7
           The Sentencing Commission recently adopted a proposed amendment
         to the text of the guideline, which inserts a new sub-section (d) to
         § 4B1.2, that explicitly states that inchoate offenses are included in the
         definition of the term “controlled substance offense.” 88 Fed. Reg.
         28,275 (May 3, 2023). This amendment may go into effect on November
         1, 2023, absent action by Congress, and would affect sentencing
         enhancements for future defendants. See U.S.S.G. § 1B1.1(b). That the
         Sentencing Commission proposed an amendment to the guideline itself,
         rather than to the commentary, further supports our view that an inchoate
         offense is a separate crime from the crime conspired about, and that, at
         the time of Castillo’s sentence, the commentary improperly expanded the
         Guideline’s plain language.
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         Administrative Procedures Act.” Id. at 394. These
         constraints ensure that the Sentencing Commission’s
         rulemaking authority does not “upset the constitutionally
         mandated balance of powers among the coordinate
         Branches.” Id. at 412.
             But unlike the Sentencing Guidelines themselves, the
         Guidelines’ commentary is not required to undergo notice
         and comment requirements; nor is it subject to any other
         mandated safeguards to cabin the Sentencing Commission’s
         broad authority. 8 See Campbell, 22 F.4th at 446 (“[I]n
         fashioning commentary the Commission acts unilaterally,
         without that continuing congressional role so vital to the
         Sentencing Guidelines’ constitutionality.”). For the most
         part, the fact that the commentary is not subject to
         constitutional safeguards is unproblematic because we defer
         to commentary that “serves only to interpret the Guidelines’
         text” and “has no independent legal force.” Havis, 927 F.3d
         at 386.
             However, the Sentencing Commission’s lack of
         accountability in its creation and amendment of the
         commentary raises constitutional concerns when we defer to
         commentary such as Application Note 1 that expands
         unambiguous Guidelines, particularly because of the
         extraordinary power the Commission has over individuals’

         8
           Although the Sentencing Commission provides “to the extent
         practicable, comparable opportunities for public input on proposed
         policy statements and commentary considered in conjunction with
         guideline amendments,” its decision to do so is discretionary, and it
         maintains the power to promulgate commentary “without using this
         notice-and-comment and congressional-submission procedure.” Moses,
         23 F.4th at 353 (citing United States Sentencing Commission, Rules of
         Practice and Procedure 6–7 (as amended Aug. 18, 2016)).
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         liberty interests. See Campbell, 22 F.4th at 446 (explaining
         that permitting commentary to add to the Sentencing
         Guidelines would “allow circumvention of the checks
         Congress put on the Sentencing Commission, a body that
         exercises considerable authority in setting rules that can
         deprive citizens of their liberty” (citation omitted)); United
         States v. Nasir, 982 F.3d 144, 159 (3d Cir. 2020), aff’d on
         remand, 17 F.4th 459 (noting that “separation-of-powers
         concerns advise against any interpretation of the
         commentary that expands the substantive law set forth in the
         guidelines themselves”).
             Indeed, “the Sentencing Commission has established
         significant, legally binding prescriptions governing
         application of governmental power against private
         individuals” just “short of capital punishment.” Mistretta,
         488 U.S. at 413 (Scalia, J., dissenting) (footnote omitted).
         As we noted in Crum, by “exercis[ing] its interpretive
         authority to expand the definition of ‘controlled substance
         offense’ . . . without any grounding in the text of § 4B1.2(b)
         and without affording any opportunity for congressional
         review,” the Sentencing Commission has used its unchecked
         power to infringe on the liberty interests of criminal
         defendants. 934 F.3d at 966. “[T]he Commission’s
         interpretation will likely increase the sentencing ranges for
         numerous defendants whose prior convictions qualify as
         controlled substance offenses due solely to Application Note
         1.” Id.
             Here, Castillo’s career offender enhancement increased
         his advisory sentence range from 151–188 months to 262–
         327 months under the Sentencing Guidelines. And his
         nearly 22-year sentence—imposed by the district court
         based on the Sentencing Guidelines—was approximately 7
         to 10 years greater than it would have been without the
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         enhancement, assuming the district court would have
         sentenced Castillo within the advisory sentence range.
         Surely, neither Kisor nor Stinson permitted the Sentencing
         Commission “to invoke its general interpretative authority
         via commentary . . . to impose such a massive impact on a
         defendant with no grounding in the guidelines themselves.”
         Winstead, 890 F.3d at 1092.
                                          VI.
             Because the text of § 4B1.2(b) unambiguously does not
         include inchoate offenses, and because we are no longer
         permitted to rely on the commentary of an unambiguous
         guideline after Kisor, we hold that Castillo’s conspiracy
         conviction is not a “controlled substance offense” under the
         career offender enhancement, § 4B1.1.9 Accordingly, the
         district court erred by relying on the PSR’s recommendation
         that Castillo qualifies as a career offender. We vacate
         Castillo’s sentence and remand for resentencing consistent
         with this opinion.
              VACATED and REMANDED.




         9
           Because Castillo does not qualify as a career offender for sentencing
         enhancement purposes, we do not reach the issue of whether Castillo’s
         state court convictions qualify as controlled substance offenses.
